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                 EXHIBIT 1
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                                                                    Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                      NORTHER DISTRICT OF CALIFORNIA
3       -------------------------------X
4       SOCIAL TECHNOLOGIES LLC,
5                       Plaintiff,
                                                CIVIL ACTION FILE
6             vs.                               NO. 3:18-CV-05945-VC
7       APPLE INC.,
8                       Defendant.
9       -------------------------------X
10
11
12                                   CONFIDENTIAL
13                         VIDEOTAPED DEPOSITION OF
                                     JUSTIN GRANT
14
                                   June 12, 2019
15                                    9:35 A.M.
16                           1075 Peachtree Street
                                      Suite 3625
17                               Atlanta, Georgia
18              Lee Ann Barnes, CCR-1852B, RPR, CRR, CRC
19
20
21
22
23
24
25

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1       that?
2               Q.    Sure.
3                     From the date when Social Technologies
4       was retained -- now, it's me.               Strike that.
5                     From the date when Social Technologies
6       retained FlexDev to work on the Hellojis app,
7       through the date when the Hellojis app was
8       launched, did anyone from Social Technologies ever
9       mention the MEMOJI app to you?
10              A.    No.
11              Q.    All right.      So moving ahead in the
12      timeline a little bit.
13                    I want to focus on May of 2018, and so
14      I'm handing you a document that we will mark as
15      Exhibit 70.
16                    (Defendant's Exhibit 70 was marked for
17              identification.)
18              Q.    (By Ms. Mazzello)          And this Exhibit 70
19      has the Bates No. FlexDevGrant -026.                 And this
20      document is an email from you, using the address
21      justin@flexdev.io, to Social Technologies, LLC, at
22      the address info@socialtechnologiesllc.com, dated
23      November 27, 2018; correct?
24              A.    Correct.
25              Q.    And the text of the communication says

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1       "MEMOJI convo"; correct?
2               A.    Correct.
3               Q.    And then below that, it appears that you
4       have forwarded an email dated May 22, 2018;
5       correct?
6               A.    Correct.
7               Q.    Is this email, dated November 27, 2018,
8       intended to commemorate the -- that you and
9       Social Technologies had a conversation about the
10      MEMOJI mark on May 22, 2018?
11              A.    Yes.
12                    MR. HECHT:      Objection.
13              Q.    (By Ms. Mazzello)          Was May 22, 2018, the
14      first time anyone from Social Technologies ever
15      mentioned the MEMOJI mark to you?
16              A.    I can't remember with a hundred percent
17      certainty.
18              Q.    Do you have any -- go ahead.
19              A.    I believe we had possibly spoken about
20      it before.
21              Q.    Approximately how long before May 22,
22      2018?
23              A.    I'm not sure.        Possibly a month or two.
24              Q.    And why did MEMOJI come up in
25      conversations with Social Technologies a month or

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1       two before May 22, 2018?
2                     MR. HECHT:      Objection to form.
3                     THE WITNESS:       Sam brought it up.
4              Q.     (By Ms. Mazzello)          And what did he say
5       about it?
6              A.     He wanted to do -- he wanted to make the
7       app.
8              Q.     So your recollection, sitting here
9       today, is that at some point in the month or two
10      prior to May 22, 2018, Mr. Bonet raised the idea
11      of building the MEMOJI app to you?
12                    MR. HECHT:      Objection to form.
13                    THE WITNESS:       Yes.
14             Q.     (By Ms. Mazzello)          And that was the --
15      this conversation -- excuse me.
16                    Was it an oral conversation with
17      Mr. Bonet?
18             A.     Yes.    Possibly multiple.
19             Q.     Did Mr. Bonet ever put his intention
20      to -- or strike that.
21                    Did Mr. Bonet ever put this interest in
22      developing the MEMOJI app in writing to you?
23             A.     I don't recall specifically if it ever
24      came to me.       I believe he was working on it.
25             Q.     Was he work- -- was Mr. Bonet working on

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